                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


WILLIAM BUNN, individually, and on behalf of              Case No.
all others similarly situated,
                        Plaintiff,
vs.                                                       CLASS ACTION COMPLAINT

JOHNSON CONTROLS, INC.,
                                                          JURY TRIAL DEMANDED
                       Defendant.




                                        INTRODUCTION
       1.      Representative Plaintiff William Bunn (“Representative Plaintiff”) brings this class
action against Defendant Johnson Controls, Inc. (“Defendant”) for its failure to properly secure
and safeguard Representative Plaintiff’s and/or Class Members’ protected health information and
personally identifiable information stored within Defendant’s information network, including,
without limitation, name, date of birth, Social Security number, information related to health
insurance or payment for medical treatment, information related to health or medical history
including diagnosis or treatment information, employee identification number, information related
to internal investigation of claims or disputes, employment benefits and compensation information,
and information related to employment or work for Defendant (these types of information, inter
alia, being thereafter referred to, collectively, as “protected health information” or “PHI” 1 and
“personally identifiable information” or “PII”). 2 All such information is referred to in the aggregate
herein as “Private Information.”

1
    Protected health information (“PHI”) is a category of information that refers to an individual’s
medical records and history, which is protected under the Health Insurance Portability and
Accountability Act. Inter alia, PHI includes test results, procedure descriptions, diagnoses,
personal or family medical histories and data points applied to a set of demographic information
for a particular patient.
2
    Personally identifiable information (“PII”) generally incorporates information that can be
used to distinguish or trace an individual’s identity, either alone or when combined with other
personal or identifying information. 2 C.F.R. § 200.79. At a minimum, it includes all information
that on its face expressly identifies an individual. PII also is generally defined to include certain


        Case 2:25-cv-01028-BHL           Filed 07/15/25      Page 1 of 25       Document 1
        2.     With this action, Representative Plaintiff seeks to hold Defendant responsible for
the harms it caused and will continue to cause Representative Plaintiff and thousands of other
similarly situated persons in the massive and preventable cyberattack purportedly discovered by
Defendant in September 2023 by which cybercriminals infiltrated Defendant’s inadequately
protected network and accessed the Private Information which was being kept under-protected (the
“Data Breach”).
        3.     While Defendant claims to have discovered the breach as early as September 2023,
Defendant did not begin informing victims of the Data Breach until July 1, 2025 and failed to
inform victims when or for how long the Data Breach occurred. Indeed, Representative Plaintiff
and Class Members were wholly unaware of the Data Breach until they received letters from
Defendant informing them of it. The Notice received by Representative Plaintiff was dated July 4,
2025.
        4.     Defendant acquired, collected and stored Representative Plaintiff’s and Class
Members’ Private Information. Therefore, at all relevant times, Defendant knew or should have
known that Representative Plaintiff and Class Members would use Defendant’s services to store
and/or share sensitive data, including highly confidential Private Information.
        5.     Defendant disregarded the rights of Representative Plaintiff and Class Members by
intentionally, willfully, recklessly and/or negligently failing to take and implement adequate and
reasonable measures to ensure that Representative Plaintiff’s and Class Members’ Private
Information was safeguarded, failing to take available steps to prevent an unauthorized disclosure
of data, and failing to follow applicable, required and appropriate protocols, policies and
procedures regarding the encryption of data, even for internal use. As a result, Representative
Plaintiff’s and Class Members’ Private Information was compromised through disclosure to an
unknown and unauthorized third party—an undoubtedly nefarious third party seeking to profit off
this disclosure by defrauding Representative Plaintiff and Class Members in the future.




identifiers that do not on its face name an individual, but that are considered to be particularly
sensitive and/or valuable if in the wrong hands (for example, Social Security numbers, passport
numbers, driver’s license numbers, financial account numbers, etc.).


        Case 2:25-cv-01028-BHL          Filed 07/15/25     Page 2 of 25      Document 1
Representative Plaintiff and Class Members have a continuing interest in ensuring their
information is and remains safe and are entitled to injunctive and other equitable relief.


                                 JURISDICTION AND VENUE
       6.      Jurisdiction is proper in this Court under 28 U.S.C. § 1332 (diversity jurisdiction).
Specifically, this Court has subject matter and diversity jurisdiction over this action under 28
U.S.C. § 1332(d) because this is a class action where the amount in controversy exceeds the sum
or value of $5 million, exclusive of interest and costs, there are more than 100 members in the
proposed class and at least one other Class Member is a citizen of a state different from Defendant.
       7.      Supplemental jurisdiction to adjudicate issues pertaining to state law is proper in
this Court under 28 U.S.C. § 1367.
       8.      Defendant is headquartered and routinely conducts business in the State where this
District is located, has sufficient minimum contacts in this State and has intentionally availed itself
of this jurisdiction by marketing and selling products and services, and by accepting and processing
payments for those products and services within this State.
       9.      Venue is proper in this Court under 28 U.S.C. § 1391 because a substantial part of
the events that gave rise to Representative Plaintiff’s claims took place within this District, and
Defendant does business in this Judicial District.


                                          PLAINTIFF(S)
       10.     Representative Plaintiff is an adult individual and, at all relevant times herein, was
a resident and citizen of the State of North Carolina Representative Plaintiff is a victim of the Data
Breach.
       11.     Defendant received highly sensitive Private Information from Representative
Plaintiff in connection with the services/employment Representative Plaintiff obtained. As a result,
Representative Plaintiff’s information was among the data accessed by an unauthorized third party
in the Data Breach.
       12.     At all times herein relevant, Representative Plaintiff is and was a member of the
Class(es).



          Case 2:25-cv-01028-BHL         Filed 07/15/25       Page 3 of 25      Document 1
       13.     Representative Plaintiff’s Private Information was exposed in the Data Breach
because Defendant stored and/or shared Representative Plaintiff’s Private Information.
Representative Plaintiff’s Private Information was within the possession and control of Defendant
at the time of the Data Breach.
       14.     Representative Plaintiff received a letter from Defendant stating Representative
Plaintiff’s Private Information was involved in the Data Breach (the “Notice”).
       15.     As a result, Representative Plaintiff spent time dealing with the consequences of
the Data Breach, which included and continues to include, time spent verifying the legitimacy and
impact of the Data Breach, exploring credit monitoring and identity theft insurance options, self-
monitoring Representative Plaintiff’s accounts and seeking legal counsel regarding Representative
Plaintiff’s options for remedying and/or mitigating the effects of the Data Breach. This time has
been lost forever and cannot be recaptured.
       16.     Representative Plaintiff suffered actual injury in the form of damages to and
diminution in the value of Representative Plaintiff’s Private Information—a form of intangible
property that Representative Plaintiff entrusted to Defendant, which was compromised in and as a
result of the Data Breach.
       17.     Representative Plaintiff suffered lost time, annoyance, interference and
inconvenience as a result of the Data Breach and has anxiety and increased concerns for the loss
of privacy, as well as anxiety over the impact of cybercriminals accessing, using and selling
Representative Plaintiff’s Private Information.
       18.     Representative Plaintiff suffered imminent and impending injury arising from the
substantially increased risk of fraud, identity theft and misuse resulting from Representative
Plaintiff’s Private Information being placed in the hands of unauthorized third parties/criminals.
       19.     Representative Plaintiff has a continuing interest in ensuring that Representative
Plaintiff’s Private Information, which, upon information and belief, remains backed up in
Defendant’s possession, is protected and safeguarded from future breaches.




       Case 2:25-cv-01028-BHL           Filed 07/15/25     Page 4 of 25      Document 1
                                         DEFENDANT(S)
       20.       Defendant is a for-profit, corporation with a principal place of business located in
Milwaukee, Wisconsin. Defendant is “a world leader in smart buildings, creating save, healthy,
and sustainable spaces.” 3
       21.       The true names and capacities of persons or entities, whether individual, corporate,
associate or otherwise, who may be responsible for some of the claims alleged here are currently
unknown to Representative Plaintiff. Representative Plaintiff will seek leave of court to amend
this Complaint to reflect the true names and capacities of such responsible parties when their
identities become known.


                               CLASS ACTION ALLEGATIONS
       22.       Representative Plaintiff brings this action pursuant to the provisions of Rules
23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, on behalf of Representative
Plaintiff and the following class(es)/subclass(es) (collectively, the “Class(es)”):


                Nationwide Class:
                “All individuals within the United States of America whose Private
                Information was exposed to unauthorized third parties as a result of the data
                breach allegedly discovered by Defendant on or before September 2023.

       23.      Excluded from the Classes are the following individuals and/or entities: Defendant
and Defendant’s parents, subsidiaries, affiliates, officers and directors and any entity in which
Defendant has a controlling interest, all individuals who make a timely election to be excluded
from this proceeding using the correct protocol for opting out, any and all federal, state or local
governments, including, but not limited to, its departments, agencies, divisions, bureaus, boards,
sections, groups, counsel and/or subdivisions, and all judges assigned to hear any aspect of this
litigation, as well as their immediate family members.
       24.      In the alternative, Representative Plaintiff may request additional subclasses as
necessary based, e.g., on the types of Private Information that were compromised.



       3
           https://www.johnsoncontrols.com/about-us/our-company (Last accessed July 14, 2025).


        Case 2:25-cv-01028-BHL           Filed 07/15/25      Page 5 of 25      Document 1
       25.     Representative Plaintiff reserves the right to amend the above definition or to
propose subclasses in subsequent pleadings and its motion for class certification.
       26.     This action has been brought and may properly be maintained as a class action
under Federal Rules of Civil Procedure Rule 23 because there is a well-defined community of
interest in the litigation and membership in the proposed Classes is easily ascertainable.

               1.      Numerosity: A class action is the only available method for the fair and
                       efficient adjudication of this controversy. The members of the Plaintiff
                       Classes are so numerous that joinder of all members is impractical, if not
                       impossible. Membership in the Class(es) will be determined by analysis of
                       Defendant’s records.
               2.      Commonality: Representative Plaintiff and Class Members share a
                       community of interest in that there are numerous common questions and
                       issues of fact and law which predominate over any questions and issues
                       solely affecting individual members, including, but not necessarily limited
                       to:
                       1)   Whether Defendant had a legal duty to Representative Plaintiff and the
                            Classes to exercise due care in collecting, storing, using and/or
                            safeguarding their Private Information;
                       2)   Whether Defendant knew or should have known of the susceptibility
                            of its data security systems to a data breach;
                       3)   Whether Defendant’s security procedures and practices to protect its
                            systems were reasonable in light of the measures recommended by data
                            security experts;
                       4)   Whether Defendant’s failure to implement adequate data security
                            measures allowed the Data Breach to occur;
                       5)   Whether Defendant failed to comply with its own policies and
                            applicable laws, regulations and industry standards relating to data
                            security;
                       6)   Whether Defendant adequately, promptly and accurately informed
                            Representative Plaintiff and Class Members that their Private
                            Information had been compromised;
                       7)   How and when Defendant actually learned of the Data Breach;
                       8)   Whether Defendant’s conduct, including its failure to act, resulted in
                            or was the proximate cause of the breach of its systems, resulting in the
                            loss of Representative Plaintiff’s and Class Members’ Private
                            Information;
                       9)   Whether Defendant adequately addressed and fixed the vulnerabilities
                            which permitted the Data Breach to occur;




       Case 2:25-cv-01028-BHL           Filed 07/15/25      Page 6 of 25      Document 1
                      10) Whether Defendant engaged in unfair, unlawful or deceptive practices
                          by failing to safeguard Representative Plaintiff’s and Class Members’
                          Private Information;
                      11) Whether Representative Plaintiff and Class Members are entitled to
                          actual and/or statutory damages and/or whether injunctive, corrective
                          and/or declaratory relief and/or an accounting is/are appropriate as a
                          result of Defendant’s wrongful conduct; and
                      12) Whether Representative Plaintiff and Class Members are entitled to
                          restitution as a result of Defendant’s wrongful conduct.
              3.      Typicality: Representative Plaintiff’s claims are typical of the claims of the
                      Plaintiff Classes. Representative Plaintiff and all members of the Plaintiff
                      Classes sustained damages arising out of and caused by Defendant’s
                      common course of conduct in violation of law, as alleged herein.
              4.      Adequacy of Representation: Representative Plaintiff in this class action is
                      an adequate representative of each of the Plaintiff Classes in that the
                      Representative Plaintiff has the same interest in the litigation of this case as
                      the Class Members, is committed to vigorous prosecution of this case and
                      has retained competent counsel who are experienced in conducting
                      litigation of this nature. Representative Plaintiff is not subject to any
                      individual defenses unique from those conceivably applicable to other Class
                      Members or the Classes in their entireties. Representative Plaintiff
                      anticipates no management difficulties in this litigation.
              5.      Superiority of Class Action: Since the damages suffered by individual Class
                      Members, while not inconsequential, may be relatively small, the expense
                      and burden of individual litigation by each member makes or may make it
                      impractical for members of the Plaintiff Classes to seek redress individually
                      for the wrongful conduct alleged herein. Should separate actions be brought
                      or be required to be brought by each individual member of the Plaintiff
                      Classes, the resulting multiplicity of lawsuits would cause undue hardship
                      and expense for the Court and the litigants. The prosecution of separate
                      actions would also create a risk of inconsistent rulings which might be
                      dispositive of the interests of the Class Members who are not parties to the
                      adjudications and/or may substantially impede their ability to adequately
                      protect their interests.

       27.    Class certification is proper because the questions raised by this Complaint are of
common or general interest affecting numerous persons, such that it is impracticable to bring all
Class Members before the Court.
       28.    This class action is also appropriate for certification because Defendant has acted
or refused to act on grounds generally applicable to Class Members, thereby requiring the Court’s
imposition of uniform relief to ensure compatible standards of conduct toward the Class Members
and making final injunctive relief appropriate with respect to the Classes in their entireties.
Defendant’s policies and practices challenged herein apply to and affect Class Members uniformly



       Case 2:25-cv-01028-BHL           Filed 07/15/25      Page 7 of 25       Document 1
and Representative Plaintiff’s challenge of these policies and practices hinges on Defendant’s
conduct with respect to the Classes in their entireties, not on facts or law applicable only to
Representative Plaintiff.
       29.     Unless a Class-wide injunction is issued, Defendant may continue in its failure to
properly secure the Private Information of Class Members, and Defendant may continue to act
unlawfully as set forth in this Complaint.
       30.     Further, Defendant has acted or refused to act on grounds generally applicable to
the Classes and, accordingly, final injunctive or corresponding declaratory relief with regard to the
Class Members as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil
Procedure.


                            COMMON FACTUAL ALLEGATIONS
The Cyberattack
       31.      In the course of the Data Breach, one or more unauthorized third parties accessed
Class Members’ Private Information. Representative Plaintiff was among the individuals whose
data was accessed in the Data Breach.
       32.      According to the Data Breach Notification and/or publicly filed documents,
Representative Plaintiff states, on information and belief, that thousands/millions of persons were
affected by the Data Breach.
       33.     Representative Plaintiff was provided the information detailed above upon
Representative Plaintiff’s receipt of a letter from Defendant. Representative Plaintiff was not
aware of the Data Breach until receiving that letter.


Defendant’s Failed Response to the Breach
       34.      Upon information and belief, the unauthorized third-party cybercriminals gained
access to Representative Plaintiff’s and Class Members’ Private Information with the intent of
misusing the Private Information, including marketing and selling Representative Plaintiff’s and
Class Members’ Private Information.




       Case 2:25-cv-01028-BHL           Filed 07/15/25      Page 8 of 25       Document 1
       35.      Not until long after it claims to have discovered the Data Breach did Defendant
begin sending the Notice to persons whose Private Information Defendant confirmed was
potentially compromised as a result of the Data Breach. The Notice provided basic details of the
Data Breach and Defendant’s recommended next steps.
       36.      Representative Plaintiff and Class Members were required to provide their Private
Information to Defendant in order to receive services and/or employment. Thus, Defendant
created, collected and stored Representative Plaintiff’s and Class Members’ Private Information
with the reasonable expectation and mutual understanding that Defendant would comply with its
obligations to keep such information confidential and secure from unauthorized access.
       37.      Despite this, Representative Plaintiff and the Class Members remain, even today,
in the dark regarding what particular data was stolen, the particular malware used and what steps
are being taken, if any, to secure their Private Information going forward. Representative Plaintiff
and Class Members are thus left to speculate as to where their Private Information ended up, who
has used it and for what potentially nefarious purposes. Indeed, they are left to further speculate as
to the full impact of the Data Breach and how exactly Defendant intends to enhance its information
security systems and monitoring capabilities so as to prevent further breaches.
       38.      Representative Plaintiff’s and Class Members’ Private Information may end up for
sale on the dark web, or simply fall into the hands of companies that will use the detailed Private
Information for targeted marketing without Representative Plaintiff’s and/or Class Members’
approval. Either way, unauthorized individuals can now easily access Representative Plaintiff’s
and Class Members’ Private Information.


Defendant Collected/Stored Class Members’ Private Information
       39.      Defendant acquired, collected, stored and assured reasonable security over
Representative Plaintiff’s and Class Members’ Private Information.
       40.      As a condition of its relationships with Representative Plaintiff and Class
Members, Defendant required that Representative Plaintiff and Class Members entrust Defendant




        Case 2:25-cv-01028-BHL           Filed 07/15/25      Page 9 of 25      Document 1
with highly sensitive and confidential Private Information. Defendant, in turn, stored that
information on Defendant’s system that was ultimately affected by the Data Breach.
         41.    By obtaining, collecting and storing Representative Plaintiff’s and Class
Members’ Private Information, Defendant assumed legal and equitable duties over the Private
Information and knew or should have known that it was thereafter responsible for protecting
Representative Plaintiff’s and Class Members’ Private Information from unauthorized disclosure.
         42.    Representative Plaintiff and Class Members have taken reasonable steps to
maintain their Private Information’s confidentiality. Representative Plaintiff and Class Members
relied on Defendant to keep their Private Information confidential and securely maintained, to use
this information for business purposes only and to make only authorized disclosures of this
information.
         43.    Defendant could have prevented the Data Breach by properly securing and
encrypting and/or more securely encrypting its servers generally, as well as Representative
Plaintiff’s and Class Members’ Private Information.
         44.    Defendant’s negligence in safeguarding Representative Plaintiff’s and Class
Members’ Private Information is exacerbated by repeated warnings and alerts directed to
protecting and securing sensitive data, as evidenced by the trending data breach attacks in recent
years.
         45.    Due to the high-profile nature of these breaches, and other breaches of its kind,
Defendant was and/or certainly should have been on notice and aware of such attacks occurring in
its industry and, therefore, should have assumed and adequately performed the duty of preparing
for such an imminent attack. This is especially true given that Defendant is a large, sophisticated
operation with the resources to put adequate data security protocols in place.
         46.    And yet, despite the prevalence of public announcements of data breach and data
security compromises, Defendant failed to take appropriate steps to protect Representative
Plaintiff’s and Class Members’ Private Information from being compromised.




         Case 2:25-cv-01028-BHL        Filed 07/15/25      Page 10 of 25         Document 1
Defendant Had an Obligation to Protect the Stolen Information
       47.     In failing to adequately secure Representative Plaintiff’s and Class Member’s
sensitive data, Defendant breached duties it owed Representative Plaintiff and Class Members
under statutory and common law.
       48.     Representative Plaintiff and Class Members surrendered their highly sensitive
Private Information to Defendant under the implied condition that Defendant would keep it private
and secure. Accordingly, Defendant also has an implied duty to safeguard their Private
Information, independent of any statute.


       49.      Defendant was also prohibited by the Federal Trade Commission Act (the “FTC
Act”) (15 U.S.C. § 45) from engaging in “unfair or deceptive acts or practices in or affecting
commerce.” The Federal Trade Commission (the “FTC”) has concluded that a company’s failure
to maintain reasonable and appropriate data security for consumers’ sensitive personal information
is an “unfair practice” in violation of the FTC Act. See, e.g., FTC v. Wyndham Worldwide Corp.,
799 F.3d 236 (3d Cir. 2015).
       50.      In addition to its obligations under federal and state laws, Defendant owed a duty
to Representative Plaintiff and Class Members to exercise reasonable care in obtaining, retaining,
securing, safeguarding, deleting and protecting the Private Information in Defendant’s possession
from being compromised, lost, stolen, accessed, and misused by unauthorized persons. Defendant
owed a duty to Representative Plaintiff and Class Members to provide reasonable security,
including consistency with industry standards and requirements, and to ensure that its computer
systems, networks and protocols adequately protected Representative Plaintiff’s and Class
Members’ Private Information.
       51.      Defendant owed a duty to Representative Plaintiff and Class Members to design,
maintain and test its computer systems, servers and networks to ensure that all Private Information
in its possession was adequately secured and protected.
       52.      Defendant owed a duty to Representative Plaintiff and Class Members to create
and implement reasonable data security practices and procedures to protect all Private Information




       Case 2:25-cv-01028-BHL          Filed 07/15/25     Page 11 of 25       Document 1
in its possession, including not sharing information with other entities who maintained sub-
standard data security systems.
        53.      Defendant owed a duty to Representative Plaintiff and Class Members to
implement processes that would immediately detect a breach of its data security systems in a timely
manner.
        54.      Defendant owed a duty to Representative Plaintiff and Class Members to act upon
data security warnings and alerts in a timely fashion.
        55.      Defendant owed a duty to Representative Plaintiff and Class Members to disclose
if its computer systems and data security practices were inadequate to safeguard individuals’
Private Information from theft because such an inadequacy would be a material fact in the decision
to entrust their Private Information to Defendant.
        56.      Defendant owed a duty of care to Representative Plaintiff and Class Members
because they were foreseeable and probable victims of any inadequate data security practices.
        57.      Defendant owed a duty to Representative Plaintiff and Class Members to encrypt
and/or more reliably encrypt Representative Plaintiff’s and Class Members’ Private Information
and monitor user behavior and activity in order to identity possible threats.


Value of the Relevant Sensitive Information
        58.      While the greater efficiency of electronic health records translates to cost savings
for providers, it also comes with the risk of privacy breaches. These electronic health records
contain a plethora of sensitive information (e.g., patient data, patient diagnosis, lab results, medical
prescriptions, treatment plans, etc.) that is valuable to cybercriminals. One patient’s complete
record can be sold for hundreds of dollars on the dark web. As such, Private Information is a
valuable commodity for which a “cyber black market” exists in which criminals openly post stolen
payment card numbers, Social Security numbers and other personal information on a number of
underground internet websites.
        59.      The high value of Private Information to criminals is further evidenced by the
prices they will pay for it through the dark web. Numerous sources cite dark web pricing for stolen




       Case 2:25-cv-01028-BHL            Filed 07/15/25      Page 12 of 25        Document 1
identity credentials. For example, personal information can be sold at a price ranging from $40 to
$200, and bank details have a price range of $50 to $200. 4 Experian reports that a stolen credit or
debit card number can sell for $5 to $110 on the dark web. 5 Criminals can also purchase access to
entire company data breaches from $999 to $4,995. 6
       60.      Between 2005 and 2019, at least 249 million people were affected by healthcare
data breaches. 7 Indeed, during 2019 alone, over 41 million healthcare records were exposed,
stolen, or unlawfully disclosed in 505 data breaches. 8 In short, these sorts of data breaches are
increasingly common, especially among healthcare systems, which account for 30.03 percent of
overall health data breaches, according to cybersecurity firm Tenable. 9
       61.      These criminal activities have and will result in devastating financial and personal
losses to Representative Plaintiff and Class Members. For example, it is believed that certain
Private Information compromised in the 2017 Equifax data breach was being used three years later
by identity thieves to apply for COVID-19-related benefits in the state of Oklahoma. Such fraud
will be an omnipresent threat for Representative Plaintiff and Class Members for the rest of their
lives. They will need to remain constantly vigilant.
       62.      The FTC defines identity theft as “a fraud committed or attempted using the
identifying information of another person without authority.” The FTC describes “identifying
information” as “any name or number that may be used, alone or in conjunction with any other
information, to identify a specific person,” including, among other things, “[n]ame, Social Security
number, date of birth, official State or government issued driver’s license or identification number,
alien registration number, government passport number, employer or taxpayer identification
number.”

4
    Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-
dark-web-how-much-it-costs/
5
    Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec.
6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/.
6
    In the Dark, VPNOverview, 2019, available at:
https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/.
7
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7349636/#B5-healthcare-08-00133/.
8
    https://www.hipaajournal.com/december-2019-healthcare-data-breach-report/.
9
    https://www.tenable.com/blog/healthcare-security-ransomware-plays-a-prominent-role-in-
covid-19-era-breaches/.


       Case 2:25-cv-01028-BHL           Filed 07/15/25      Page 13 of 25      Document 1
        63.      Identity thieves can use Private Information, such as that of Representative
Plaintiff and Class Members which Defendant failed to keep secure, to perpetrate a variety of
crimes that harm victims. For instance, identity thieves may commit various types of government
fraud such as immigration fraud, obtaining a driver’s license or identification card in the victim’s
name but with another’s picture, using the victim’s information to obtain government benefits or
filing a fraudulent tax return using the victim’s information to obtain a fraudulent refund.
        64.      The ramifications of Defendant’s failure to keep secure Representative Plaintiff’s
and Class Members’ Private Information are long lasting and severe. Once Private Information is
stolen, particularly identification numbers, fraudulent use of that information and damage to
victims may continue for years. Indeed, Representative Plaintiff’s and Class Members’ Private
Information was taken by hackers to engage in identity theft or to sell it to other criminals who
will purchase the Private Information for that purpose. The fraudulent activity resulting from the
Data Breach may not come to light for years.
        65.      There may be a time lag between when harm occurs versus when it is discovered
and also between when Private Information is stolen and when it is used. According to the U.S.
Government Accountability Office (“GAO”), which conducted a study regarding data breaches:


        [L]aw enforcement officials told us that in some cases, stolen data may be held for
        up to a year or more before being used to commit identity theft. Further, once stolen
        data have been sold or posted on the Web, fraudulent use of that information may
        continue for years. As a result, studies that attempt to measure the harm resulting
        from data breaches cannot necessarily rule out all future harm. 10

        66.      The harm to Representative Plaintiff and Class Members is especially acute given
the nature of the leaked data. Medical identity theft is one of the most common, most expensive
and most difficult-to-prevent forms of identity theft. According to Kaiser Health News, “medical-
related identity theft accounted for 43 percent of all identity thefts reported in the United States in
2013,” which is more than identity thefts involving banking and finance, the government and the
military, or education. 11

10
    Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
http://www.gao.gov/new.items/d07737.pdf/.
11
    Michael Ollove, “The Rise of Medical Identity Theft in Healthcare,” Kaiser Health News,
Feb. 7, 2014, https://khn.org/news/rise-of-indentity-theft/.


       Case 2:25-cv-01028-BHL           Filed 07/15/25       Page 14 of 25       Document 1
         67.       “Medical identity theft is a growing and dangerous crime that leaves its victims
with little to no recourse for recovery,” reported Pam Dixon, executive director of World Privacy
Forum. “Victims often experience financial repercussions and worse yet, they frequently discover
erroneous information has been added to their personal medical files due to the thief’s activities.” 12
         68.       When cybercriminals access financial information, health insurance information
and other personally sensitive data—as they did here—there is no limit to the amount of fraud to
which Defendant may have exposed Representative Plaintiff and Class Members.
         69.       A study by Experian found that the average total cost of medical identity theft is
“about $20,000” per incident, and that a majority of victims of medical identity theft were forced
to pay out-of-pocket costs for healthcare they did not receive in order to restore coverage. 13 Almost
half of medical identity theft victims lose their healthcare coverage as a result of the incident, while
nearly one-third saw their insurance premiums rise, and 40 percent were never able to resolve their
identity theft at all. 14
         70.       And data breaches are preventable. 15 As Lucy Thompson wrote in the DATA
BREACH AND ENCRYPTION HANDBOOK, “[i]n almost all cases, the data breaches that occurred could
have been prevented by proper planning and the correct design and implementation of appropriate
security solutions.” 16 She added that “[o]rganizations that collect, use, store, and share sensitive
personal data must accept responsibility for protecting the information and ensuring that it is not
compromised….” 17
         71.       Most of the reported data breaches are a result of lax security and the failure to
create or enforce appropriate security policies, rules and procedures. Appropriate information




12
    Id.
13
    Elinor Mills, “Study: Medical Identity Theft is Costly for Victims,” CNET (Mar, 3, 2010),
https://www.cnet.com/news/study-medical-identity-theft-is-costly-for-victims/.
14
    Id.; see also Healthcare Data Breach: What to Know About them and What to Do After One,
EXPERIAN, https://www.experian.com/blogs/ask-experian/healthcare-data-breach-what-to-
know-about-them-and-what-to-do-after-one/.
15
    Lucy L. Thompson, “Despite the Alarming Trends, Data Breaches Are Preventable,” in
DATA BREACH AND ENCRYPTION HANDBOOK (Lucy Thompson, ed., 2012).
16
    Id. at 17.
17
    Id. at 28.


        Case 2:25-cv-01028-BHL           Filed 07/15/25      Page 15 of 25        Document 1
security controls, including encryption, must be implemented and enforced in a rigorous and
disciplined manner so that a data breach never occurs. 18
           72.   Here, Defendant knew of the importance of safeguarding Private Information and
of the foreseeable consequences that would occur if Representative Plaintiff’s and Class Members’
Private Information was stolen, including the significant costs that would be placed on
Representative Plaintiff and Class Members as a result of a breach of this magnitude. As detailed
above, Defendant knew or should have known that the development and use of such protocols
were necessary to fulfill its statutory and common law duties to Representative Plaintiff and Class
Members. Its failure to do so is therefore intentional, willful, reckless and/or grossly negligent.
           73.   Defendant disregarded the rights of Representative Plaintiff and Class Members
by, inter alia, (i) intentionally, willfully, recklessly and/or negligently failing to take adequate and
reasonable measures to ensure that its network servers were protected against unauthorized
intrusions, (ii) failing to disclose that it did not have adequately robust security protocols and
training practices in place to adequately safeguard Representative Plaintiff’s and Class Members’
Private Information, (iii) failing to take standard and reasonably available steps to prevent the Data
Breach, (iv) concealing the existence and extent of the Data Breach for an unreasonable duration
of time, and (v) failing to provide Representative Plaintiff and Class Members prompt and accurate
notice of the Data Breach.



                                 FIRST CLAIM FOR RELIEF
                                           Negligence
                               (On behalf of the Nationwide Class)
           74.   Each and every allegation of the preceding paragraphs is incorporated in this
Count with the same force and effect as though fully set forth herein.
           75.   At all times herein relevant, Defendant owed Representative Plaintiff and Class
Members a duty of care, inter alia, to act with reasonable care to secure and safeguard their Private
Information and to use commercially reasonable methods to do so. Defendant took on this




18
     Id.


           Case 2:25-cv-01028-BHL        Filed 07/15/25      Page 16 of 25        Document 1
obligation upon accepting and storing Representative Plaintiff’s and Class Members’ Private
Information on its computer systems.
        76.         Among these duties, Defendant was expected:

                   1.     to exercise reasonable care in obtaining, retaining, securing, safeguarding,
                          deleting and protecting the Private Information in its possession;
                   2.     to protect Representative Plaintiff’s and Class Members’ Private
                          Information using reasonable and adequate security procedures and systems
                          that were/are compliant with industry-standard practices;
                   3.     to implement processes to quickly detect the Data Breach and to timely act
                          on warnings about data breaches; and
                   4.     to promptly notify Representative Plaintiff and Class Members of any data
                          breach, security incident or intrusion that affected or may have affected their
                          Private Information.
        77.         Defendant knew that the Private Information was private and confidential and
should be protected as private and confidential and, thus, Defendant owed a duty of care not to
subject Representative Plaintiff and Class Members to an unreasonable risk of harm because they
were foreseeable and probable victims of any inadequate security practices.
        78.         Defendant knew or should have known of the risks inherent in collecting and
storing Private Information, the vulnerabilities of its data security systems and the importance of
adequate security. Defendant knew about numerous, well-publicized data breaches.
        79.         Defendant knew or should have known that its data systems and networks did not
adequately safeguard Representative Plaintiff’s and Class Members’ Private Information.
        80.         Only Defendant was in the position to ensure that its systems and protocols were
sufficient to protect the Private Information that Representative Plaintiff and Class Members had
entrusted to it.
        81.         Defendant breached its duties to Representative Plaintiff and Class Members by
failing to provide fair, reasonable or adequate computer systems and data security practices to
safeguard Representative Plaintiff’s and Class Members’ Private Information.
        82.         Because Defendant knew that a breach of its systems could damage thousands of
individuals, including Representative Plaintiff and Class Members, Defendant had a duty to
adequately protect its data systems and the Private Information contained thereon.




       Case 2:25-cv-01028-BHL              Filed 07/15/25      Page 17 of 25       Document 1
       83.      Representative Plaintiff’s and Class Members’ willingness to entrust Defendant
with its Private Information was predicated on the understanding that Defendant would take
adequate security precautions. Moreover, only Defendant had the ability to protect its systems and
the Private Information it stored on them from attack. Thus, Defendant had a special relationship
with Representative Plaintiff and Class Members.
       84.      Defendant also had independent duties under state and federal laws that required
Defendant to reasonably safeguard Representative Plaintiff’s and Class Members’ Private
Information and promptly notify them about the Data Breach. These “independent duties” are
untethered to any contract between Defendant and Representative Plaintiff and/or the remaining
Class Members.
       85.      Defendant breached its general duty of care to Representative Plaintiff and Class
Members in, but not necessarily limited to, the following ways:

               a.     by failing to provide fair, reasonable or adequate computer systems and data
                      security practices to safeguard Representative Plaintiff’s and Class
                      Members’ Private Information;
               b.     by failing to timely and accurately disclose that Representative Plaintiff’s
                      and Class Members’ Private Information had been improperly acquired or
                      accessed;
               c.     by failing to adequately protect and safeguard the Private Information by
                      knowingly disregarding standard information security principles, despite
                      obvious risks, and by allowing unmonitored and unrestricted access to
                      unsecured Private Information;
               d.     by failing to provide adequate supervision and oversight of the Private
                      Information with which it was and is entrusted, in spite of the known risk
                      and foreseeable likelihood of breach and misuse, which permitted an
                      unknown third party to gather Representative Plaintiff’s and Class
                      Members’ Private Information, misuse the Private Information and
                      intentionally disclose it to others without consent;
               e.     by failing to adequately train its employees to not store Private Information
                      longer than absolutely necessary;
               f.     by failing to consistently enforce security policies aimed at protecting
                      Representative Plaintiff’s and the Class Members’ Private Information;
               g.     by failing to implement processes to quickly detect data breaches, security
                      incidents or intrusions; and
               h.     by failing to encrypt Representative Plaintiff’s and Class Members’ Private
                      Information and monitor user behavior and activity in order to identify
                      possible threats.



       Case 2:25-cv-01028-BHL         Filed 07/15/25      Page 18 of 25      Document 1
       86.      Defendant’s willful failure to abide by these duties was wrongful, reckless and/or
grossly negligent in light of the foreseeable risks and known threats.
       87.      As a proximate and foreseeable result of Defendant’s grossly negligent conduct,
Representative Plaintiff and Class Members have suffered damages and are at imminent risk of
additional harms and damages (as alleged above).
       88.      The law further imposes an affirmative duty on Defendant to timely disclose the
unauthorized access and theft of the Private Information to Representative Plaintiff and Class
Members so that they could and/or still can take appropriate measures to mitigate damages, protect
against adverse consequences and thwart future misuse of their Private Information.
       89.      Defendant breached its duty to notify Representative Plaintiff and Class Members
of the unauthorized access by waiting excessively after learning of the Data Breach to notify
Representative Plaintiff and Class Members and then by failing and continuing to fail to provide
Representative Plaintiff and Class Members sufficient information regarding the breach. To date,
Defendant has not provided sufficient information to Representative Plaintiff and Class Members
regarding the extent of the unauthorized access and continues to breach its disclosure obligations
to Representative Plaintiff and Class Members.
       90.      Further, through its failure to provide timely and clear notification of the Data
Breach to Representative Plaintiff and Class Members, Defendant prevented Representative
Plaintiff and Class Members from taking meaningful, proactive steps to, inter alia, secure and/or
access their Private Information.
       91.      There is a close causal connection between Defendant’s failure to implement
security measures to protect Representative Plaintiff’s and Class Members’ Private Information
and the harm suffered, or risk of imminent harm suffered, by Representative Plaintiff and Class
Members. Representative Plaintiff’s and Class Members’ Private Information was accessed as the
proximate result of Defendant’s failure to exercise reasonable care in safeguarding such Private
Information by adopting, implementing and maintaining appropriate security measures.
       92.      Defendant’s wrongful actions, inactions and omissions constituted (and continue
to constitute) common law negligence.




       Case 2:25-cv-01028-BHL          Filed 07/15/25      Page 19 of 25     Document 1
        93.      The damages Representative Plaintiff and Class Members have suffered (as
alleged above) and will continue to suffer were and are the direct and proximate result of
Defendant’s grossly negligent conduct.
        94.      Additionally, 15 U.S.C. § 45 (FTC Act, Section 5) prohibits “unfair […] practices
in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair act or
practice by businesses, such as Defendant, of failing to use reasonable measures to protect Private
Information. The FTC publications and orders described above also form part of the basis of
Defendant’s duty in this regard.
        95.      Defendant violated 15 U.S.C. § 45 by failing to use reasonable measures to protect
Private Information and not complying with applicable industry standards, as described in detail
herein. Defendant’s conduct was particularly unreasonable given the nature and amount of Private
Information it obtained and stored and the foreseeable consequences of the immense damages that
would result to Representative Plaintiff and Class Members.
        96.      As a direct and proximate result of Defendant’s negligence, Representative
Plaintiff and Class Members have suffered and will continue to suffer injury, including, but not
limited to, (i) actual identity theft, (ii) the loss of the opportunity of how their Private Information
is used, (iii) the compromise, publication and/or theft of their Private Information, (iv) out-of-
pocket expenses associated with the prevention, detection and recovery from identity theft, tax
fraud and/or unauthorized use of their Private Information, (v) lost opportunity costs associated
with effort expended and the loss of productivity addressing and attempting to mitigate the actual
and future consequences of the Data Breach, including, but not limited to, efforts spent researching
how to prevent, detect, contest and recover from embarrassment and identity theft, (vi) lost
continuity in relation to their personal records, (vii) the continued risk to their Private Information,
which may remain in Defendant’s possession and is subject to further unauthorized disclosures so
long as Defendant fails to undertake appropriate and adequate measures to protect Representative
Plaintiff’s and Class Members’ Private Information in its continued possession, and (viii) future
costs in terms of time, effort and money that will be expended to prevent, detect, contest and repair




       Case 2:25-cv-01028-BHL            Filed 07/15/25      Page 20 of 25        Document 1
the impact of the Private Information compromised as a result of the Data Breach for the remainder
of the lives of Representative Plaintiff and Class Members.
       97.      As a direct and proximate result of Defendant’s negligence, Representative
Plaintiff and Class Members have suffered and will continue to suffer other forms of injury and/or
harm, including, but not limited to, anxiety, emotional distress, loss of privacy and other economic
and noneconomic losses.
       98.      Additionally, as a direct and proximate result of Defendant’s negligence,
Representative Plaintiff and Class Members have suffered and will continue to suffer the continued
risks of exposure of their Private Information, which remains in Defendant’s possession and is
subject to further unauthorized disclosures so long as Defendant fails to undertake appropriate and
adequate measures to protect Private Information in its continued possession.


                               SECOND CLAIM FOR RELIEF
                                 Breach of Implied Contract
                              (On behalf of the Nationwide Class)
       99.      Each and every allegation of the preceding paragraphs is incorporated in this
Count with the same force and effect as though fully set forth herein.
       100.     Through their course of conduct, Defendant, Representative Plaintiff and Class
Members entered into implied contracts for Defendant to implement data security adequate to
safeguard and protect the privacy of Representative Plaintiff’s and Class Members’ Private
Information.
       101.     Defendant solicited, invited and required Representative Plaintiff and Class
Members to provide their Private Information as part of Defendant’s regular business practices.
Representative Plaintiff and Class Members accepted Defendant’s offers by, in part, providing
their Private Information to Defendant.
       102.     As a condition of being direct customers and/or employees of Defendant,
Representative Plaintiff and Class Members provided and entrusted their Private Information to
Defendant. In so doing, Representative Plaintiff and Class Members entered into implied contracts
with Defendant by which Defendant agreed to safeguard and protect such non-public information,




       Case 2:25-cv-01028-BHL          Filed 07/15/25      Page 21 of 25      Document 1
to keep such information secure and confidential and to timely and accurately notify
Representative Plaintiff and Class Members if its data had been breached and compromised or
stolen.
          103.     A meeting of the minds occurred when Representative Plaintiff and Class
Members agreed to, and did, provide their Private Information to Defendant, in exchange for,
amongst other things, the protection of their Private Information.
          104.     Representative Plaintiff and Class Members fully performed their obligations
under the implied contracts with Defendant.
          105.     Defendant breached the implied contracts it made with Representative Plaintiff
and Class Members by failing to safeguard and protect their Private Information and by failing to
provide timely and accurate notice to them that their Private Information was compromised as a
result of the Data Breach.
          106.     As a direct and proximate result of Defendant’s above-described breach of implied
contract, Representative Plaintiff and Class Members have suffered and will continue to suffer (i)
ongoing, imminent and impending threat of identity theft crimes, fraud and abuse, resulting in
monetary loss and economic harm, (ii) actual identity theft crimes, fraud and abuse, resulting in
monetary loss and economic harm, (iii) loss of the confidentiality of the stolen confidential data,
(iv) the illegal sale of the compromised data on the dark web, (v) lost work time, and (f) other
economic and noneconomic harm.

                                  THIRD CLAIM FOR RELIEF
                 Breach of the Implied Covenant of Good Faith and Fair Dealing
                                (On behalf of the Nationwide Class)
          107.     Each and every allegation of the preceding paragraphs is incorporated in this
Count with the same force and effect as though fully set forth therein.
          108.     Every contract in this State has an implied covenant of good faith and fair
dealing. This implied covenant is an independent duty and may be breached even when there
is no breach of a contract’s actual and/or express terms.
          109.     Representative Plaintiff and Class Members have complied with and performed
all conditions of their contracts with Defendant.




          Case 2:25-cv-01028-BHL         Filed 07/15/25     Page 22 of 25      Document 1
        110.    Defendant breached the implied covenant of good faith and fair dealing by
failing to maintain adequate computer systems and data security practices to safeguard Private
Information, failing to timely and accurately disclose the Data Breach to Representative Plaintiff
and Class Members and continued acceptance of Private Information and storage of other personal
information after Defendant knew or should have known of the security vulnerabilities of the
systems that were exploited in the Data Breach.
        111.    Defendant acted in bad faith and/or with malicious motive in denying
Representative Plaintiff and Class Members the full benefit of their bargains as originally intended
by the parties, thereby causing them injury in an amount to be determined at trial.


                                       RELIEF SOUGHT
        WHEREFORE, Representative Plaintiff, on Representative Plaintiff’s own behalf and on
behalf of each member of the proposed National Class and any proposed subclass(es), respectfully
requests that the Court enter judgment in favor of Representative Plaintiff and the Class(es) and
for the following specific relief against Defendant(s) as follows:
        1.     That the Court declare, adjudge and decree that this action is a proper class action
and certify each of the proposed Classes and/or any other appropriate Subclasses under Federal
Rules of Civil Procedure Rule 23 (b)(1), (b)(2), and/or (b)(3), including appointment of
Representative Plaintiff’s counsel as Class Counsel;
        2.     For an award of damages, including actual, nominal and consequential damages, as
allowed by law in an amount to be determined;
        3.     That the Court enjoin Defendant, ordering it to cease and desist from unlawful
activities;
        4.     For equitable relief enjoining Defendant from engaging in the wrongful conduct
complained of herein pertaining to the misuse and/or disclosure of Representative Plaintiff’s and
Class Members’ Private Information, and from refusing to issue prompt, complete and accurate
disclosures to Representative Plaintiff and Class Members;




       Case 2:25-cv-01028-BHL          Filed 07/15/25      Page 23 of 25      Document 1
       5.      For injunctive relief requested by Representative Plaintiff, including, but not
limited to, injunctive and other equitable relief as is necessary to protect the interests of
Representative Plaintiff and Class Members, including, but not limited to, an Order:

               a.     prohibiting Defendant from engaging in the wrongful and unlawful acts
                      described herein;
               b.     requiring Defendant to protect, including through encryption, all data
                      collected through the course of business in accordance with all applicable
                      regulations, industry standards and federal, state or local laws;
               c.     requiring Defendant to delete and purge Representative Plaintiff’s and Class
                      Members’ Private Information unless Defendant can provide to the Court
                      reasonable justification for the retention and use of such information when
                      weighed against the privacy interests of Representative Plaintiff and Class
                      Members;
               d.     requiring Defendant to implement and maintain a comprehensive
                      Information Security Program designed to protect the confidentiality and
                      integrity of Representative Plaintiff’s and Class Members’ Private
                      Information;
               e.     requiring Defendant to engage independent third-party security auditors and
                      internal personnel to run automated security monitoring, simulated attacks,
                      penetration tests and audits on Defendant’s systems on a periodic basis;
               f.     prohibiting Defendant from maintaining Representative Plaintiff’s and
                      Class Members’ Private Information on a cloud-based database;
               g.     requiring Defendant to segment data by creating firewalls and access
                      controls so that if one area of Defendant’s network is compromised, hackers
                      cannot gain access to other portions of Defendant’s systems;
               h.     requiring Defendant to conduct regular database scanning and securing
                      checks;
               i.     requiring Defendant to establish an information security training program
                      that includes at least annual information security training for all employees,
                      with additional training to be provided as appropriate based upon the
                      employees’ respective responsibilities with handling Private Information,
                      as well as protecting the Private Information of Representative Plaintiff and
                      Class Members;
               j.     requiring Defendant to implement a system of tests to assess its respective
                      employees’ knowledge of the education programs discussed in the
                      preceding subparagraphs, as well as randomly and periodically testing
                      employees’ compliance with Defendant’s policies, programs and systems
                      for protecting personal identifying information;
               k.     requiring Defendant to implement, maintain, review and revise as necessary
                      a threat management program to appropriately monitor Defendant’s
                      networks for internal and external threats, and assess whether monitoring
                      tools are properly configured, tested and updated; and




       Case 2:25-cv-01028-BHL         Filed 07/15/25      Page 24 of 25       Document 1
               l.      requiring Defendant to meaningfully educate all Class Members about the
                       threats that they face as a result of the loss of their confidential personal
                       identifying information to third parties, as well as the steps affected
                       individuals must take to protect themselves.


       6.      For prejudgment interest on all amounts awarded, at the prevailing legal rate;
       7.      For an award of attorneys’ fees, costs and litigation expenses, as allowed by law;
and
       8.      For all other Orders, findings and determinations identified and sought in this
Complaint.


                                         JURY DEMAND
        Representative Plaintiff, individually and on behalf of the Plaintiff Classes and/or
Subclasses, hereby demands a trial by jury for all issues triable by jury.


Dated: July 15, 2025                  By:     /s/ Laura Van Note
                                              Laura Van Note, Esq. (CA S.B. #310160)
                                              COLE & VAN NOTE
                                              555 12th Street, Suite 2100
                                              Oakland, California 94607
                                              Telephone: (510) 891-9800
                                              Facsimile: (510) 891-7030
                                              Email:       lvn@colevannote.com

                                              Attorneys for Representative Plaintiff and the
                                              Plaintiff Class




       Case 2:25-cv-01028-BHL           Filed 07/15/25      Page 25 of 25     Document 1
